Case 4:20-cv-03664-YGR Document 530-1 Filed 04/08/22 Page 1 of 6




            Declaration of
             Bert Leung

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Case 4:20-cv-03664-YGR Document 530-1 Filed 04/08/22 Page 2 of 6
Case 4:20-cv-03664-YGR Document 530-1 Filed 04/08/22 Page 3 of 6
Case 4:20-cv-03664-YGR Document 530-1 Filed 04/08/22 Page 4 of 6
Case 4:20-cv-03664-YGR Document 530-1 Filed 04/08/22 Page 5 of 6
Case 4:20-cv-03664-YGR Document 530-1 Filed 04/08/22 Page 6 of 6
